Case 2:11-cv-06549-JLL-MAH Document1 Filed 11/04/11 Page 1 of 20 PagelD: 1

UNITED STATES DISTRICT COURT

 

 

DISTRICT OF NEW JERSEY
)
LUZ M. TAMAYO, )
)
Plaintiff, )
)
)
v. ) NOTICE OF REMOVAL
AMERICAN CORADIUS
INTERNATIONAL, L.L.C.
)
Defendant. )
)

 

PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1331, 1441(b), and
1446, Defendant Amercian Coradius International, L.L.C. ("ACI"), by its attorney,
hereby removes this action from the Superior Court of New Jersey, Law Division —
Special Civil Part, Hudson County, to the United States District Court for the District
of New Jersey. In support of this Notice of Removal, ACI states as follows:

1. Plaintiff Luz M. Tamayo originally commenced this action by filing a
Complaint against ACI in the Superior Court of New Jersey, Law Division — Special
Civil Part, Hudson County, where it is presently captioned as Luz M. Tamayo vy.
American Coradius International, L.L.C.., Docket No.: DC-021040-11. No further
proceedings before the State court have occurred.

2, In the Complaint, Plaintiff alleges statutory causes of action against

ACI. A true and correct copy of Plaintiff’s Complaint is attached hereto as Ex. “A.”
Case 2:11-cv-06549-JLL-MAH Document 1 Filed 11/04/11 Page 2 of 20 PagelD: 2

3. Plaintiff accuses ACI of violating the Fair Debt Collection Practices
Act, 15 U.S.C. § 1692, et seq.

4. ACI was served with Plaintiff's Summons and Complaint on or about
October 6, 2011.

5, This Court has federal question jurisdiction over Plaintiff's claim
pursuant to 28 U.S.C. §§ 1331 and 1441(b) in that the claims are “founded on a claim
or right arising under the . . . laws of the United States . . .”

6. This Notice of Removal is timely, having been filed within thirty (30)
days of the date on which ACI was served with Plaintiff's Complaint. See 28 U.S.C.
§ 1446.

7. Written notice of this Notice of Removal of this action is being
immediately provided to the Superior Court of New Jersey, Law Division — Special
Civil Part, Hudson County. See Ex. “B.”

8, Written notice of this Notice of Removal of this action is being caused
to be served on counsel for the Plaintiff.

WHEREFORE, Defendant American Coradius International, L.L.C. gives
notice that this action is removed from the Superior Court of New Jersey, Law

Division -- Special Civil Part, Hudson County, to the United States District Court for

the District of New Jersey.
Case 2:11-cv-06549-JLL-MAH Document1 Filed 11/04/11 Page 3 of 20 PagelD: 3

Dated: November 3, 2011

Respectfully/subryftted

A
Aageh R-fiasley, Esq.
SESSIONS, FISHMAN, NATHAN & JSRAEL, L.L.C.
200 Route 31 North, Suite 2703
Flemington, NJ 08822
Phone: (908) 751-5940
Fax: (908) 751-5944
aeasley@sessions-law.biz
Attorney for Defendant
American Coradtus International, L.L.C.
Case 2:11-cv-06549-JLL-MAH Document 1 Filed 11/04/11 Page 4 of 20 PagelD: 4

CERTIFICATE OF SERVICE
I hereby certify that on this 3rd day of November 2011, a copy of the
foregoing Notice of Removal to the United States District Court for the District of
New Jersey was served by Federal Express upon the Clerk of the Court and via regular
mail upon the parties at the below address:

Yaakov Saks, Esq.

Law Offices of Matthew E. Rose
209 Main Street

Fort Lee, NJ 07024

Phone: (201) 482-8111 x136
Facsimile (201) 482-8190

Email: ysaks@theroselaw.com
Attorney for Plaintiff

Luz M. Tamayo

 

Adron R. Easley, Esq.
Attorney for Defendant
American Coradius International, L.L.C.
Case 2:11-cv-06549-JLL-MAH Document1 Filed 11/04/11 Page 5 of 20 PagelD: 5

EXHIBIT "A"
Case 2:11-cv-06549-JLL-MAH Document1 Filed 11/04/11 Page 6 of 20 PagelD: 6

SPECIAL CIVUL PART SUMMONS AND RETURN OF SERVICE - FORM B- PAGE 2

 

 

 

 

 

 

 

 

 

Plaintiff or Plaintiff's Attorney Information: Demand Amount: $ 15000
Name: Filing Fee: 3.50
Law Office of Matthew Bose Service Fee: $
Address: Attomey’s Fees: $
209 Main Street TOTAL $ 15050
Fort Lee, NJ, 07024 SUPERIOR COURT OF NEW JERSEY
Teleghone No.: @01) 482 _- 8111 LAW DIVISION, SPECIAL CIVIL PART
_HUDSON _COUNTY
Luz Tamayo 595 Newark Avenue
, Plaintiffs) Jersey City, NJ 07306
versus OF} 795 -6000
American Coradious Intemational DC-021040-11
, Defendant(s) Docket No:
(to be provided by the court) *
Civil Action
SUMMONS

(Circle one): J] Contract or [(] Tort

Defendant(s) Information: Name, Address & Phone:

American Coradious Intemational, LLC
2420 Sweet Home Rd., Ste. 150, Amherst, NY 14228

 

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GEN

ee re, oe

Date Served: 10/06/2011

RETURN OF SERVICE If SERVED BY COURT OFFICER (For Court Use Only)

 

 

Docket Number: Date: Time:
WM___WF__ BM__ BF ___ OTHER. HT. WT AGE MUSTACHE BEARD GLASSES
NAME: RELATIONSHIP:

 

Description of Premises:

 

 

Lhereby certify the above to be true and accuratz:

Court Officer

RETURN OF SERVICE IF SERVED BY MAIL (For Court Use Only)

1, Maria Garde, hereby certify that on 10/06/2011, I mailed a copy of the within summons and complaint by regular and certified mail,
return receipt requested. :

———

 

Employee Signature
Case 2:11-cv-06549-JLL-MAH Document1 Filed 11/04/11 Page 7 of 20 PagelD: 7

The Law Offices of Matthew E. Rose, Esq. P.C.

209 Main Street 2" Floor
Fort Lee, NJ, 07024
(201 482-8111 — Telephone
(201) 482-8190 — Facsimile
Attomeys for Plaintiff

Luz Tamayo

FILED Sep 28, 2041

SUPERIOR COURT OF NEW JERSEY
LAW DIVISION SPECIAL CIVIL PART

 

HUDSON COUNTY
Luz Tamayo
Plaintiff,
DocketNo.  ©7021040-11
Vv.
PLAINTIFF'S COMPLAINT

American Coradious International, LLC,
Defendant(s).

 

Yaakov Saks Esq.

 
Case 2:11-cv-06549-JLL-MAH Document1 Filed 11/04/11 Page 8 of 20 PagelD: 8

Yaakov Saks, of full age, hereby certifies as follows:

Complaint

1, This is an action under the Fair Debt Collection Practices Act, hereinafier
“FDCPA,” 15 U.S.C. § 1692(a) against debt collector American Coradious
International, LLC.

2. This is an action for invasion of privacy against defendant American Coradious

International, LLC.

Parties
3. Plaintiff, Luz Tamayo, is an adult residing in Hudson County, New Jersey.
4. Defendant American Coradious International, LLC is located at 2420 Sweet
Home Rd., Ste. 150, Amherst, NY 14228.
5, Defendant American Coradious International, LLC is a “debt collector” as
defined by the FDCPA, 15 U.S.C. § 1692a (6).

6. Plaintiffis a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a (3).

Factual Allegations

7. American Coradious International, LLC attempted to collect a debt that falls

within the definition of “debt” for purposes of 15 U.S.C. § 1692a(5),
Case 2:11-cv-06549-JLL-MAH Document1 Filed 11/04/11 Page 9 of 20 PagelD: 9

8. Defendant American Coradious International, LLC is misrepresenting the
amount owed, if indeed any debt exists.

9. American Coradious International, LLC repeatedly made harassing cails to
Plaintiff during their collection efforts.

10. Plaintiff was caused mental suffering and shame as a result of receiving
repeated and continuous harassing telephone calls from American Coradious

Intemational, LLC.
Claims for Relief

American Coradious International, LLC is liable under FDCPA 15 U.S.C. §
1692e(2) for misrepresenting the amount owed on the alleged debt.

Additionally, American Coradious International, LLC made harassing calls to
Plaintiff during their collection efforts in violation of FDCPA 15 U.S.C. § 1692d(5).

American Coradious International, LLC invaded Plaintiff's right of privacy by
placing repeated and continuous telephone calls to Plaintiff that would be considered
highly offensive to a reasonable person. As a result of American Coradious International,
LLC’s harassing communications, Plaintiff was caused shame, mental suffering,
headaches and loss of sleep.

As aresult of the above violations of the FDCPA, Defendant is liable to Plaintiff
for actual damages, statutory damages which can be up $1,000, and costs and attorneys
feces. As a result of invading Plaintiff's privacy, American Coradious International, LLC

is liable for actual damages.
Case 2:11-cv-06549-JLL-MAH Document1 Filed 11/04/11 Page 10 of 20 PagelD: 10

Wherefore, Plaintiff respectfully submits that judgment in the sum of $15,000 be
entered against Defendants for the following:
A. Actual Damages resulting from the drop in Plaintiff's credit score, and
Plaintiff's inability to continue Plaintiff's normal way of life.
B. Actual Damages resulting from Plaintiff's inability to gain credit,
C. Actual Damages resulting from a denial of a potential loan modification
due to the negative credit reporting.
D. Actual damages in the form of emotional damages for the stress and
anxiety placed upon Plaintiff as a result of Defendant’s illegal collections.
E. Actual damages in the form of headaches, loss of sleep, shame, and mental
suffering for the stress and anxiety suffered by Plaintiff from the invasion
of Plaintiff's privacy.
F. Statutory Damages pursuant to 15 U.S.C, § 1692{k) up to $1000.
G. Filing and attorneys fees.

H. For such other and further relief as may be just and proper.

Respectfully submitted, The Law Offices of Matthew E. Rose, Esq. P.C.
Attorneys for Plaintiff

Luz Tamayo
By:__ Yaakov Saks September 19, 2011 be
Rule 4:51-1 Certification

The undersigned attorneys for the plaintiff certify that the matter in controversy is
not the subject of any other action pending in any Coust or a pending arbitration
proceeding, nor is any other action or arbitration proceeding contemplated. I certify that
confidential person identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with
Rule 1:38-7b.
Case 2:11-cv-06549-JLL-MAH Document1 Filed 11/04/11 Page 11 of 20 PagelD: 11

Certification

I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, 1 Gl, to punishment.

Date: on] af / Ze lf Signature: o
: J Malt bb

 
Case 2:11-cv-06549-JLL-MAH Document1 Filed 11/04/11 Page 12 of 20 PagelD: 12

The Law Offices of Matthew E. Rose
209 Main Street 2"* Floor

Fort Lee, NJ, 07024

(201 482-8111 - Telephone ext. 136
(201) 482-8190 — Facsimile

Out of State Certification

Yaakov Saks, of full age, hereby certifies as follows:
L. Defendant American Coradious International, LLC is located at 2420 Sweet
Home Rad., Ste. 150, Amherst, NY 14228.
2. Defendant American Coradious International, LLC does not have an address in
‘New J ersey, but is subject to jurisdiction in New Jersey since it does business in

_ the State.

Certification

I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.
Date: (96): 5f / Rel} Signature: Mis. L-
if “L Y ( :
ea OY Qed: y

7
Case 2:11-cv-06549-JLL-MAH Document1 Filed 11/04/11 Page 13 of 20 PagelD: 13

The Law Offices of Matthew E. Rose, Esq. P.C.
209 Main Street 2" Floor
Fort Lee, NJ, 07024
(201 482-8111 — Telephone ext 136
(201) 482-8190 — Facsimile
Attomeys for Plaintiff
Luz Tamayo

September 19, 2011

Dear Sir/Madam:

Enclosed please find Plaintiffs complaint.
Additionally, enclosed is a summons and out of state certification for 2 defendants.

Very truly yours,
The Law Office of Matthew E. Rose, Esq. P.C.

  
 

Yaakov Saks / Ly

For the Firm
Case 2:11-cv-06549-JLL-MAH Document1 Filed 11/04/11 Page 14 of 20 PagelD: 14

 

THE SUPERIOR COURT OF NEW JERSEY
‘Law Division, Special Civil Part

po "SUMMONS

 

 

 

YOU ARE BEING SUED!

If YOU WANT THE COURT TO HEAR YOUR SIDE OF THIS LAWSUIT, YOU MUST
FILE A WRITTEN ANSWER WITH THE COURT WITHIN 35 DAYS OR THE COURT .
MAY RULE AGAINST YOU. READ ALL OF THIS PAGE AND THE NEXT PAGE FO
DETAILS. :

In the attached complaint, the person suing you (who is called the plaintiff) briefly tells the court his or her’ -
version of the facts of the case and how much money he or she claima you owe. Yeu are cautioned that if you do
not answer the complaint, you may loge the case automatically, and the court may give the plaintiff what the
Plaintiff is asking for, plus interest and court costs, If a judgment is entered against you, a Special Civil Part

Officer may seize your money, wages or personal property to pay all or part of the judgment and the judgment is
valid for 20 years. , ‘

woe

You can do one or more of the following things:

1, Answer the complaint, An answer form is available at the Office of the Clerk of the Special Civil Part.
The answer form shows you how to respond in writing to the claims stated in the complaint, If you decide to ”
answer, you must send it to the court's addresa on page 2 and pay a $ 15.00 filing fee with your answer and
send a copy of the answer to the plaintiff's lawyer, or to the plaintiff if the plaintiff does not have a lawyer. Both of
' these steps must be done within 25 days (including weekends) from the date you were “served” (sent the
complaint), That date is noted on the next page. ;

; _ AND/OR *

2. Resolve the dispute, You may wish to contact the plaintiff's lawyer, or the plaintiff if the plaintiff does
not have a lawyer, to resolve this dispute, You do not have-to do this unless you want to. This nigy avoid the
entry of a judgment. and the plaintiff may agree to accept payment arrangements, which is something that cannot
be forced by the court, Negotiating with the plaintiff or the plaintiff's attorney will not stop the 85 day period for
filing an answer unless a written agreement is reached and fled with the court. : '

AND/OR
8, Geta lawyer, If you cannot afford to pay for a lawyer,-free legal advice may be available by contacting

Legal Services at (209) 792-6363 if you can afford to pay a lawyer but do not know one, you may, x
cati-the'bawyer Referral Services of Your local éounty Bat Aisociation at (20 798-2727"

If you need an interpreter or an accommodation for a disability, you must notify the court-immediately.

La traduccién al espaiiol se encuentra al doreo de esta phatt®3
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Appendix XLA(), HotBocs* wervaulegaleom 800.222.0510 Page 1
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Case 2:11-cv-06549-JLL-MAH Document1 Filed 11/04/11 Page 15 of 20 PagelD: 15

 

EL TRIBUNAL SUPERIOR DE NUEVA JERSEY
, Divisién de Derecho, Parte Civil Especial

 

 

NOTIFICACLON DE DEMANDA

 

 

ILE ESTAN HACIENDO JUICIO!

SI UD. QUIERE QUE EL TRIBUNAL VEA SU VERSION DE ESTA CAUSA, TIENE
QUE PRESENTAR UNA CONTESTACION ESCRITA EN EL TRIBUNAL DENTRO DE
UN PERIODO DE 35 DIAS O ES POSIBLE QUE EL TRIBUNAL DICTAMINE EN SU
CONTRA. PARA LOS DETALLES, LEA TODA ESTA PAGINA Y LA QUE SIGUE.

En la demanda adjunta, la persona que Je esta haciendo juicio (que se llama el demandante) da al juez su
" version breve de los hechos del caso y la suma de dinero que alega que Ud. le debe. Se le advierte que si Ud. no
contesta la demanda, es posible que pierda la causa autométicamente y el tribunal dé al demandante lo que ©
pide mds intereses y costas. Si se registra una decisién en su contra, es posible que un Oficial de ld Parte Civil
Especial (Special Civil Part Officer) embargue su dinero, salario o bienes muebles para pagar toda o parte dela °
adjudicacién, y la adjudicacién tiene 20 arios de vigencia.

Usted puede escoger entre las siguientes opciones: ©

; 1, Contestar la demande, Priede conseguir un formulario de contestacién en la Oficina del Secretario de la
Parte Civil Especial. El formulario de contestaclén le indica cémo responder por escrito a las alegaciones
' expuestas én la demanda. Si Ud. decide contestar, tiene que enviar su eontestacién a la dereccién del tribunal que
figura en'la pagina 2, pagar un gasto de iniciacién de la demanda de $ 15.00 délares y enviar una copia de
la contestacin, al abogado del demandante, o al demandante si el demandante no tiene abogade. Tiene 35 dias
(que incluyen fines de semana) para hacer-los trémites a partir de la fecha en que fue “notificado” (le énviaron la

_ Gemanda), Esa fecha se anota en la p4gina que sigue,

ADEMAS, 0 DE LO CONTRARIO, UD. PUEDE

2, Resolver la disputa, _Posiblemente Ud, quiera coniunicarse con el abogado del demandante, o el
demandante si el demandante no tiene abogado, para resolver esta disputa, No tiene que hacerlo si no quiere.
Esto puede evitar que se registre una adjudicacién y puede ser que e] demandante esté de acuerdo con aceptar un
convenio de pago lo cual es algo que el juez no puede imponer. Negociaciones con el demandante o el abogado del
demandante no suspenderén el término de 35 dias para registrar una contestacién a menos que se Hegue a un
acuerdo escrito que se registra en el tribunal. :

ADEMAS, O DE LO CONTRARIO, UD, PUEDE

3. Conseguir un abogado. Si Ud. no tiene dinero pata pagar a un abogado, es posible que pueda recibir
consejos-legales-gratuites‘ comunicéndose' cor Servicios Legales' (Begal Sérvitesy al’ (201) 792-6363". Si tiene
dinero para pagar a un abogado pero Nno-conoce ningun puede lamar Servicios de Recomendacién de Abogados
. ae Referral Services) del Colegio de “Abogados (Bar Association) de su condado” local al
ere

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’ Si necesita im intérprete o alguna acomodacién para un impedimento, tiene

ase) Loy Tei nediatam te
tribunal,” 4 oe en al

 

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Part (except Landlord/Tenant and Small Claims) Powered by A Division of ALL-STATE Internationa}, Ine.
Appendix XI-A(}). ’ HotDocs wwwaslegalcom B00-222.0510 Page J

Rev, 9/3/02 P3077
Case 2:11-cv-06549-JLL-MAH Document1 Filed 11/04/11 Page 16 of 20 PagelD: 16

TRIAL ADJOURNMENT PROCEDURE
FOR HUDSON COUNTY

Until further notice, the following procedure is to be followed when requesting an.adjournment
of a scheduled trial date in the Superior Court, Law Division Civil or Special Civil Part.

Any request for an adjournment in the Law Division Civil is to be made in writing or by FAX

[(201) 217-5249], addressed to Antoinette Outwater, Civil Division Manager, attention Tracey

Pignatelli, Trial Calendar Coordinator,.583 Newark Avenue, Jersey City, New Jersey, 07306.

* For a trial date scheduled in the Special Civil Part, the adjournment request is to be directed to
Rupert Haller, Assistant Civil Division Manager, attention Donna Koncewicz, Special Civil,

"again in writing or by FAX [(201) 795-6053]. Requests are to include the following information:

a) Name of case and docket number;

b) Scheduled trial date;

c) Name of party requesting the adjournment;

d) The specific reason(s) for the adjournment; and

e) A representation to the court that the requesting party has informed all other parties of
the request for adjournment.

The party requesting the adjournmient should first contact all adversaries advising them of the
trial readiness problem.and attempt to reach an agreemcit as to when all parties will be ready to
proceed with the trial not later than 30 days‘after the date presently scheduled. This will require
all involved persons to contact their respective clients arid witnesses. The requesting party should
advise in the letter requesting the adjournment that he/she has conversed with all other parties
and that they have or have not consented to the adjournment request and/or have or have lot
agreed upon a new trial date.

No one should assume that the adjournment request wiéibe granted. Adjournments shall be
confirmed or denied by the‘court by telefax or telephone communication to the party who
requested the adjournment. For your information, your request for any adjournment will be
initially acted upon by a court staff person. If you are aggrieved by the determination that
is made, you should then request that your application be presented to the Presiding Judge
for consideration. In that event, the Presiding Judge will make the ultimate decision on
your adjournment request and you will be advised accordingly, It shall then be the obligation
of the requesting party to timely advise all other parties whether the adjournment request was
granted or denied and, if-granted, to advise of the new trial date fixed by the court.

All requests for adjournment of hearings, trials and complementary dispute resolution
events shall be made fo the clerk’s office as soon as the need is known, but absent good
cause for the delay not less than 5 days before the scheduled court event, (R 6:4-7)

If an attorney is designated as trial counsel and is actually in trial elsewhere in the Superior .
Court, Hudson County will mark its case Aready hold, subject to counsel’s trial availability.
Likewise, if an attorney is designated as trial counsel and is scheduled for trial on an older case
on the same day but in a different county, then Hudson County will mark its case Aready hold=,
subject to counsel’s disposition of the older case.

Effective: May 2003 (revised 03/04/09) Peter Bariso, J.S.C.
Case 2:11-cv-06549-JLL-MAH Document1 Filed 11/04/11 Page 17 of 20 PagelD: 17

EXHIBIT "B"
Case 2:11-cv-06549-JLL-MAH Document1 Filed 11/04/11 Page 18 of 20 PagelD: 18

SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.C.
200 Route 31 North, Suite 203
Flemington, NJ 08822 -

Phone (908) 751-5940

Fax (908) 751-5944

Attorneys for Defendant
American Coradius International, L.L.C.

LUZ M. TAMAYO,

Plaintiff,

Vv.

AMERICAN CORADIUS
INTERNATIONAL, L.L.C.,

Defendant.

 

TO: Clerk of the Court
_ Superior Court of New Jersey
Law Division, Special Civil Part
Hudson County
595 Newark Avenue
Jersey City, NJ 07306

Yaakov Saks, Esq. ~

Law Offices of Matthew E. Rose
209 Main Street

Fort Lee, NJ 07024

Phone: (201) 482-8111 x136
Facsimile (201) 482-8190
Email: ysaks@theroselaw.com
Attorney for Plaintiff

Luz M. Tamayo ©

SUPERIOR COURT OF NEW JERSEY

LAW DIVISION — SPECIAL CIVIL PART,

HUDSON COUNTY
DC-021040-11

NOTICE OF FILING OF |
NOTICE OF REMOVAL TO THE
UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW JERSEY
Case 2:11-cv-06549-JLL-MAH Document1 Filed 11/04/11 Page 19 of 20 PagelD: 19

PLEASE TAKE NOTICE that this action has been removed to the United States District
Court for the District of New Jersey. Attached hereto as Exhibit “1” is a copy of the Notice of
Removal filed in the United States District Court effecting such removal.

PLEASE TAKE FURTHER NOTICE that in accordance with 28 U.S.C. § 1446(d), the
Superior Court of New Jersey, Law Division — Special Civil Part, Hudson County, shall proceed
no further in this action unless and until the action is remanded by the United States District
Court for the District of New Jersey.

Dated: November 3, 2011

Respectfully submitted

 

Aafon R. Easley, Esq.
SESSIONS, FISHMAN, NATHAN 8) ISRAEL, L.L.C.
200 Route 31 North, Suite/203
Flemington, NJ 08822
Phone: (908) 751-5940
Fax: (908) 751-5944
_ aeasley@sessions-law.biz
American Coradius International, L.L.C,
Case 2:11-cv-06549-JLL-MAH Document.1 Filed 11/04/11 Page 20 of 20 PagelD: 20

CERTIFICATE OF SERVICE
I hereby certify that on this 3rd day of November 2011, a copy of the foregoing Notice of
Filing of Notice of Removal to the United States District Court for the District of New |
Jersey was served by Federal Express upon the Clerk of the Court and via regular mail upon the
parties at the below addresses:

Clerk of the Court

Superior Court of New Jersey
Law Division, Special Civil Part
Hudson County

595 Newark Avenue

Jersey City, NJ 07306

Yaakov Saks, Esq.

Law Offices of Matthew E. Rose
209 Main Street

Fort Lee, NJ 07024

Phone: (201) 482-8111 x136
Facsimile (201) 482-8190
Email: ysaks@theroselaw.com
Attorney for Plaintiff

Luz M. Tamayo ©

Aarop. Easley, Esq.
Attorney for Defendant
American Coradius International, L.L.C.

 
